Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 1 of 57 PageID #: 2263



                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND

   SAM and TONY M., by Next Friend
   Gregory C. Elliott; CAESAR S., by Next
   Friend Kathleen J. Collins; DAVID T., by
   Next Friend Mary Melvin; DEANNA H., by
   Next Friend Gregory C. Elliott; and
   DANNY and MICHAEL B., by Next Friend
   Gregory C. Elliott; for themselves and those
   similarly situated,
                  Plaintiffs

   v.                                                  C.A. No. 07-241-ML

   LINCOLN D. CHAFEE, in his official
   capacity as Governor of the State of Rhode
   Island; STEVEN M. COSTANTINO, in his
   official capacity as Secretary of the
   Executive Office of Health and Human
   Services; and KEVIN J. AUCOIN,1 in
   his official capacity as Acting Director
   of the Department of Children, Youth and
   Families,
                  Defendants.



                             MEMORANDUM AND ORDER

        I.    Introduction

        The   plaintiffs   in   this   litigation   are,   or were,    at   the

   inception of this case, ten minor children who had been taken into

   the legal custody of the Rhode Island Department of Children, Youth

   and Families (“DCYF”) because of a report or suspicion of abuse or

   neglect. The case, which was initiated by “Next Friends” on behalf

   of the plaintiffs, is intended as a class action suit for “all


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        On June 29, 2001, Janice E. DeFrances was confirmed as the new
   Director of the Department of Children, Youth and Families.

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 2 of 57 PageID #: 2264



   children who are or will be in the legal custody of the [DCYF] due

   to a report or suspicion of abuse or neglect.”2         Amended Complaint

   ¶ 11.      Generally, the proposed class action seeks to “compel

   Defendants - the Governor of the State of Rhode Island, the

   Secretary of the Executive Office of Health and Human Services

   [EOHHS], and the Director of the [DCYF] - to meet their legal

   obligations to care for and protect Rhode Island’s abused and

   neglected children in state custody by reforming the State’s

   dysfunctional child welfare system.”        Amended Complaint ¶ 7.

        The defendants first sought dismissal of the case, inter alia,

   on the ground that the plaintiffs’ “Next Friends” lacked standing

   to represent them in this litigation.       That motion was granted and

   the case was dismissed.      Sam M., et al. v. Carcieri, 610 F. Supp.

   2d 171, 173 (D.R.I. 2009). The plaintiffs appealed the dismissal.

   The First Circuit Court of Appeals reversed the order dismissing

   the amended complaint and remanded the case with directions to

   reinstate the complaint and to allow the “Next Friends” to proceed

   on behalf of the children.     Sam M. v. Carcieri, 608 F.3d 77, 94 (1st

   Cir. 2010).

        At this time, the case is before the Court on the defendants’

   second motion to dismiss the amended complaint for (1) lack of


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        According to the plaintiffs, “[a]s of January 2007,
   approximately 3,000 children were in DCYF legal custody for foster
   care services due to reported or substantiated allegations of abuse
   or neglect.” Amended Complaint ¶ 11.

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 3 of 57 PageID #: 2265



   subject matter jurisdiction, pursuant to Federal Rule 12(b)(1) of

   the Federal Rules of Civil Procedure, and (2) failure to state a

   claim upon which relief can be granted, pursuant to Federal Rule

   12(b)(6) of the Federal Rules of Civil Procedure.          For the reasons

   discussed hereinafter, the defendants’ motion is GRANTED, in part,

   and DENIED, in part.

        II.   Procedural History

        On June 28, 2007, the “Next Friends” filed a complaint on

   behalf of the ten named minor plaintiffs. An amended complaint was

   filed on September 7, 2007. On October 2, 2007, the defendants

   filed a motion to dismiss the amended complaint. Specifically, the

   defendants argued that (1) the “Next Friends” lacked standing; (2)

   pursuant to Younger and Rooker-Feldman doctrines, the Court should

   abstain from rendering a decision that would invade the province of

   the Rhode Island Family Court; (3) the plaintiffs did not have a

   private right of action under the Adoption Assistance and Child

   Welfare Act (“AACWA”) of 1980, 42 U.S.C. §§ 621 et seq., 670 et

   seq.; and (4) the claims of three of the named plaintiffs had

   become moot because they had been adopted and were no longer in

   DCYF custody.

        The presiding judge3 heard oral argument on the defendants’

   motion   on   January   16,   2008.       He   conducted   two   subsequent


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        Senior Judge Ronald R. Lagueux, who has since recused himself
   from the case.

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 4 of 57 PageID #: 2266



   evidentiary hearings on January 23 and 24, 2008 regarding the

   suitability of the “Next Friends.”           Following the hearings, the

   Court requested that the parties submit post-hearing briefs.             On

   April 29,    2009,   the   Court   granted   the defendants’    motion   to

   dismiss, holding that the Child Advocate4 and “Next Friends” had no

   authority or standing to proceed in the case.           Sam M. et al. v.

   Carcieri, 610 F. Supp. 2d at 184.

        The plaintiffs appealed the dismissal of their claims.              On

   June 18, 2010, the First Circuit Court of Appeals reversed and

   remanded the case with instructions to reinstate the complaint and

   to allow the three individuals to proceed as the plaintiffs’ “Next

   Friends.”

        On November 1, 2010, the defendants filed the instant motion

   to dismiss the amended complaint, to which the plaintiffs responded

   with an objection on January 18, 2011.          On February 7, 2011, the

   defendants filed a reply in further support of their motion.

        This Court heard oral argument on May 6, 2011, after which it



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        The Child Advocate, who is appointed by the Governor with the
   advice and consent of the Senate, acts independently of the DCYF.
   The Child Advocate’s duties include, inter alia, to insure that
   each child in protective care is apprised of his or her rights; to
   review DCYF procedures and placement facilities; and to
   “[r]ecommend changes in the procedures for dealing with juvenile
   problems and the systems for providing child care and treatment.”
   R.I. Gen. Laws § 42-73-7 (1)-(5). To achieve these aims, the Child
   Advocate is authorized to “[t]ake all possible action including .
   . . formal legal action” to ensure the legal, civil and special
   rights of children. R.I. Gen. Laws § 42-73-7 (6).

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 5 of 57 PageID #: 2267



   took the motion under advisement.

        III.    Factual Background

        The background and life histories of seven5 of the minor

   plaintiffs has been described in some detail in the decision and

   order of this Court, see Sam M. et al. v. Carcieri, 610 F. Supp. 2d

   at 174-180. The opinion of the First Circuit Court of Appeals also

   provides summaries for six of the plaintiffs6, see Sam M. v.

   Carcieri, 608 F.3d at 84–85.      Common to all plaintiffs is that the

   children were placed into DCYF custody after they had been removed

   from their families because they had been reported as abused and/or

   neglected.    Since they entered DCYF custody, each of the children

   has been moved to a succession of foster care placements, many of

   which, the plaintiffs allege, have been inadequate, unlicensed,

   inappropriate, and not designed to provide a permanent home.             In

   addition, all of the children are alleged to have suffered abuse

   during their respective placements and, as a result, several of the

   children have been institutionalized.        As of May 6, 2011, eight of

   the ten named plaintiffs have been adopted, leaving only two of the



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        Prior to issuance of the Court’s first order dismissing the
   case, three of the children were legally adopted, “rendering their
   cases moot.” Sam M. et al. v. Carcieri, 610 F. Supp. 2d at 175.
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        The First Circuit noted that, although ten children were
   initially named as plaintiffs, four of them were no longer in DCYF
   custody because they had been adopted. Sam M. v. Carcieri, 608
   F.3d at 81 n. 1.

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 6 of 57 PageID #: 2268



   children, David T. and Danny B.,7 in the legal custody of DCYF.

   David T., who will reach the age of majority in 2011, currently

   lives in an out-of-state institution.           Danny B., whose brother

   Michael was adopted in 2008, has been placed in a group home.

        IV.   The Litigation

        In bringing this action, the plaintiffs seek to compel the

   defendants “to meet their legal obligations to care for and protect

   Rhode Island’s abused and neglected children in state custody by

   reforming the State’s dysfunctional child welfare system.” Amended

   Complaint ¶ 7.    Some of the alleged shortcomings include: children

   staying in foster care for years; placement that is dictated by

   availability, not suitability; inadequate reimbursement rates for

   foster parents; decline in the numbers of licensed foster homes;

   unnecessary    institutionalization      of   children;   repeated    moves

   between inappropriate DCYF placements; failure to meet federal

   standards; failures of caseworkers to make monthly visits; abuse in

   foster care; untenable caseloads of social workers; inadequate

   supervision;     placements   in   unlicensed    foster   homes;   lengthy

   application process for foster home licensing; separation from

   siblings; lack of timely reunification with families; pursuit of

   reunification with parents when not appropriate; failure to place

   children who cannot return home for adoption; and failure to meet



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        Pseudonyms are used for all minor plaintiffs.

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 7 of 57 PageID #: 2269



   children’s medical, dental, and mental health needs.                       See e.g.

   Amended Complaint ¶¶ 5, 107-112, 115, 116, 129-186.

          The amended complaint also alleges that the defendants forfeit

   millions in         federal   matching    funds    by    failing    to    meet   their

   obligations under so-called “State Plans,”8 id. ¶ 211;                     that they

   waste limited funds on institutional placements, id. ¶ 213; and

   that they do not provide adequate foster care maintenance payments

   to foster parents.         Id. ¶ 216-218.

              The plaintiffs have put forward six separate causes of

   action.       In Count I, the plaintiffs assert that the State assumes

   an     affirmative     duty    under     the    14th    Amendment    of    the    U.S.

   Constitution to protect a child from harm when it takes the child

   into       foster   care   custody.       The    plaintiffs    allege      that   the

   defendants’ actions and inactions constitute a failure to protect

   the plaintiffs from harm. The plaintiffs specify their substantive

   due process rights to include, inter alia, the right to a living

   environment that protects their physical, mental, and emotional

   safety and well-being; and the right to safe and secure foster care

   placement, appropriate monitoring, supervision, planning, and other



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        Title IV of the Social Security Act provides grants to states
   for aid and services to needy families with children, including
   children under foster care, and for child-welfare services. 42
   U.S.C. § 601 et seq. In order to qualify for such federal funding,
   a State is required to develop a State plan that meets Title IV
   standards and applicable regulations. Lynch v. Dukakis, 719 F.2d
   504, 507 (1st Cir. 1983).

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 8 of 57 PageID #: 2270



   services.

              In Count II, titled Substantive Due Process under the U.S.

   Constitution - State-Created Danger, the plaintiffs allege that

   they       are   at    a   continuing   risk   of    being   deprived    of   their

   substantive due process rights (1) by being removed from their

   caretakers and put into placements that pose an imminent risk of

   harm; or (2) by being returned to their parents when such return

   poses a risk of harm.           The plaintiffs assert that such policy and

   practice         are   inconsistent     with   the   exercise    of   professional

   judgment and amount to deliberate indifference to the plaintiffs’

   liberty and privacy rights in violation of 42 U.S.C. § 1983.

          In Count III, the plaintiffs allege that, as a result of the

   alleged actions and inactions of the defendants, the plaintiffs

   have been severely harmed and deprived of their liberty interests,

   privacy interests and “associational rights not to be deprived of

   a child-parent or a child-sibling family relationship, guaranteed

   by the First, Ninth, and Fourteenth Amendment.”                 Amended Complaint

   ¶ 229.

          In Count IV, the plaintiffs allege that the defendants are

   depriving the plaintiffs of certain rights under the Adoption
                                                          9
   Assistance and Child Welfare Act (“AACWA”)                 of 1980, as amended by

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        In general, the AACWA provides for federal reimbursement for
   certain expenses incurred by the states in administering foster
   care and adoption services if the State satisfies the requirements
   of the Act. To participate in the program, a State must submit a

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 9 of 57 PageID #: 2271



   the Adoption and Safe Families Act of 1997, 42 U.S.C. § 621-629i,

   670-679b, including, inter alia, the following rights: timely

   written case plans; a case review system to ensure implementation;

   placement in foster homes that conform to reasonable professional

   standards; the filing of petitions to terminate parental rights;

   permanent placement for children whose permanency goal is adoption;

   services to protect children’s safety and health, to facilitate

   return to the family home, and review of health and educational

   records; and the payment of foster care maintenance to foster

   parents that covers food, clothing, shelter, daily supervision,

   school    supplies,    reasonable   travel    to   families,    and   other

   expenses.10

        Count V is a procedural due process claim, in which the

   plaintiffs    assert   that   the   defendants’    alleged     actions   and

   inactions cause the plaintiffs to suffer deprivations of federal-

   law entitlements under the AACWA and U.S. Department of Health and

   Human Services regulations, as well as state-law entitlements



   plan for approval by the Secretary of Health and Human Services
   (“HHS”) which includes several statutorily imposed requirements.
   Carson P. ex rel. Foreman v. Heineman, 240 F.R.D. 456 (D.Neb.
   2007).
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        Following the defendants’ motion for dismissal, the plaintiffs
   withdrew all claims under the AACWA except for: (1) the right to
   a case plan containing certain information, including child-
   specific recruitment efforts of steps taken to secure a permanent
   home for them (42 U.S.C § 671(a)(16)); and (2) the right to
   adequate foster care maintenance payments (42 U.S.C. §§ 671(a)(1),
   (a)(11), 672(a)(1), 675(4)(A)). Pltfs.’ Obj. 45 n. 45.

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 10 of 57 PageID #: 2272



   provided them under Chapter 72 of Title 42 of Rhode Island General

   Laws.11

         Finally,    in    Count   VI,    the    plaintiffs      assert    that   the

   defendants have breached their contractual obligations under the

   Rhode Island State Plans prepared for the U.S. Department of Health

   and Human Services pursuant to the Social Security Act.                  In order

   to establish their right to raise this claim, the plaintiffs

   suggest that they are the intended third-party beneficiaries to

   such State Plans.

         The plaintiffs’ requested remedies include, inter alia, (1) a

   declaration by this Court that the defendants’ actions detailed in

   Counts I through VI are unconstitutional and unlawful; (2) an order

   permanently enjoining the defendants from subjecting the plaintiffs

   to   practices   that    violate      their   rights;   and    (3)     “appropriate

   remedial relief to ensure defendants’ future compliance with their

   legal obligations to Plaintiff Children.” Amended Complaint ¶ 239.

   In addition, the plaintiffs seek to maintain this case as a class

   action12 pursuant to Federal Rule 23(b)(2) of the Federal Rules of

   Civil Procedure.       The plaintiffs also seek costs and the expenses of


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        Chapter 72 of Title 42 of the Rhode Island General Laws
   addresses the establishment and responsibilities of DCYF. R.I.
   Gen. Laws §§ 42-72-1 et seq.
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        Although the motion for class certification was fully briefed
   in 2007, there is nothing to indicate that the issue was argued
   before the Court or that the motion was decided.

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 11 of 57 PageID #: 2273



   the litigation.

         V.    Standard of Review

         A Court may dismiss a complaint, inter alia, for lack of

   subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1) or

   for failure to state a claim upon which relief may be granted,

   pursuant to Fed. R. Civ. P. 12(b)(6).          Because federal courts are

   courts of limited jurisdiction, “a court, when confronted with a

   colorable    challenge   to   its   subject-matter   jurisdiction,    should

   resolve that question before weighing the merits of a pending

   action.” Morales Feliciano v. Rullan, 303 F.3d 1, 6 (1st Cir. 2002).

   The burden of proving federal court jurisdiction is on the party

   invoking it.    Pejepscot Indus. Park, Inc. v. Maine Cent. R. R. Co.,

   215 F.3d 195, 200 (1st Cir. 2000).

         The standard of review for a motion to dismiss a complaint

   under either subsection of Rule 12(b) is identical.            McCloskey v.

   Mueller, 446 F.3d 262, 265-66 (1st Cir. 2006)(“Although these rulings

   derive from different subsections of Rule 12(b), . . . our standard

   of review sounds the same familiar refrain.”); Puerto Rico Tel. Co.

   v. Telecomm. Regulatory Bd. of Puerto Rico, 189 F.3d 1, 14 n.10 (1st

   Cir. 1999)(“The standard of review . . . is the same for failure to

   state a claim and for lack of jurisdiction.”).

         A court, in reviewing a motion to dismiss, accepts as true the

   factual allegations of the complaint and draws all reasonable

   inferences in favor of the plaintiff.         Cook v. Gates, 528 F.3d 42,


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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 12 of 57 PageID #: 2274



   48   (1st   Cir.   2008);    McCloskey       v.   Mueller,   446   F.3d   at   266

   (Plaintiffs’ well-pleaded facts are accepted as true and court

   “indulge[s] all reasonable inferences to their behoof.”).                 In order

   to withstand a motion to dismiss, “a complaint must allege ‘a

   plausible entitlement to relief.’” ACA Fin. Guar. Corp. v. Advest,

   Inc., 512 F.3d 46, 58 (1st Cir. 2008)(quoting Bell Atl. Corp. v.

   Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 1967-69, 167 L.Ed.2d 929

   (2007); Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868

   (2009)(A complaint must be dismissed if it fails to state facts

   sufficient to establish a claim to relief that is “plausible on its

   face.”))

         VI.     Discussion

         A.     Mootness

         Three of the named plaintiffs, Briana, Alexis, and Clare H.,

   were legally adopted on September 24, 2007.              Prior to oral argument

   on the defendants’ first motion to dismiss the complaint, the

   plaintiffs agreed “to withdraw the claims of . . . Briana, Alexis,

   and Clare H. – since they have been adopted and are no longer

   members of the putative class.”              Pltfs.’ Obj. Defs.’ First Mot.

   Dismiss. (Docket No. 35) at 3 n. 2; see Pltfs.’ Obj. Def.’s Mot

   Dismiss     (Docket   No.   80)   at   67   n.    53   (“Plaintiffs   voluntarily

   withdrew the claims of Deanna’s siblings.”)               The presiding judge’s

   declaration that the adoption rendered the claims of these three




                                           12
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 13 of 57 PageID #: 2275



   plaintiffs moot was not appealed by the plaintiffs.13             The First

   Circuit acknowledged this fact and noted that “after the district

   court rendered its opinion, Plaintiff Deanna H. was adopted and thus

   her claims are also moot.”      Sam M. v. Carcieri, 608 F.3d at 81 n.1.

   Since then, four more children have been legally adopted: Sam and

   Tony M.14, Michael B., and Caesar S., leaving only David T. and Danny

   B. in the legal custody of DCYF.

         The defendants seek dismissal of the claims as they relate to

   Deanna, Sam, Tony, Michael, and Caesar on the ground that they “no

   longer satisfy the ‘case or controversy’ threshold requirement of a

   federal court suit.”     Defs.’ Mem. 26.     Specifically, the defendants

   assert that, following the adoptions of the five children, the

   underlying petitions alleging abuse and neglect were closed and no

   live case or controversy exists between those plaintiffs and the

   defendants.      The   defendants    argue   that,   because   the   amended

   complaint seeks only injunctive relief, the five adopted children

   who are no longer in DCYF custody have no legally cognizable

   interest in the outcome of the case.         Id. at 28.

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        The Court notes that the plaintiffs have sought to amend their
   complaint to name additional plaintiffs as members of the putative
   class.
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        Sam and Tony M.’s adoption is subject to a dependency petition
   involving some continuing supervision and support from DCYF. The
   plaintiffs conceded at oral argument, however, that the dependency
   petition involves no allegations of abuse or neglect and that Sam
   and Tony M. are, by definition, no longer part of the putative
   class. Hearing Tr. 36:16-37:10 (May 6, 2011).

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 14 of 57 PageID #: 2276



           The   plaintiffs,    on   their     part,    take   the   position    that,

   “despite the fact that they are currently not in DCYF custody,” the

   five adopted children “belong to a putative class of foster children

   whose claims are by their very nature transitory” and, therefore,

   should not be dismissed from this litigation.               Pltfs.’s Obj. 71.

   Specifically, the plaintiffs assert that “it was reasonable to

   expect, given the temporary nature of foster care, that these five

   Named Plaintiffs might leave DCYF custody prior to a ruling on class

   certification,” and that, therefore, an exception applies to the

   mootness doctrine as it relates to class actions.                 Id. at 67-68.

   The plaintiffs also point out that, even if the claims of the

   adopted children were to be dismissed, the action would survive

   because David T. and Danny B. are still in DCYF custody.               Moreover,

   the plaintiffs state that they are prepared to file a “supplemental

   complaint”    to    add   additional      named     plaintiffs    following       the

   resolution of the defendants’ motion.             Id. at 67.

         Pursuant to Article III of the Constitution, federal courts are

   restricted to the resolution of actual cases and controversies.

   U.S. Const. art. III, § 2, cl. 1;            Shelby v. Superformance Int’l,

   Inc., 435 F.3d 42, 45 (1st Cir. 2006);           Cruz v. Farquharson, 252 F.3d

   530, 533 (1st Cir. 2001)(“This requirement must be satisfied at each

   and every stage of the litigation.”).               Because “those words limit

   the   business     of   federal   courts    to    questions    presented     in   an

   adversary context,” courts are precluded from rendering advisory


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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 15 of 57 PageID #: 2277



   opinions. Overseas Military Sales Corp., Ltd. v. Giralt-Armada, 503

   F.3d 12, 16-17 (1st Cir. 2007).            A case becomes moot “‘when the

   issues presented are no longer live or when the parties lack a

   legally cognizable interest in the outcome.’” Id. at 17 (quoting

   Cruz v. Farquharson, 252 F.3d at 533).          “‘A case is moot and hence

   not justiciable, if the passage of time has caused it completely to

   lose its character as a present, live controversy of the kind that

   must exist if the court is to avoid advisory opinions on abstract

   propositions of law.’” Thomas R.W., By and Through his next Friends

   Pamela R. et al. v Mass. Dep’t of Educ., 130 F.3d 477, 479 (1st Cir.

   1997)(Disabled     student’s    graduation     from    private     school    and

   matriculation into public high school rendered student’s claim for

   on-site services moot)(internal quotation omitted).

         As   the   defendants    recognize,     they    bear   the    burden    of

   demonstrating that, “after the case’s commencement, intervening

   events have blotted out the alleged injury and established that the

   conduct complained of cannot reasonably be expected to recur.”

   Ramirez v. Sanchez Ramos, 438 F.3d 92, 100 (1st Cir. 2006); see

   Defs.’ Reply 3.

          With respect to class actions, the First Circuit has held that

   “if no decision on class action certification has occurred by the

   time that the individual claims of all named plaintiffs have been

   fully resolved,” a putative class action must be dismissed.            Cruz v.

   Farquharson, 252 F.3d at 534.       “Only when a class is certified does


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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 16 of 57 PageID #: 2278



   the   class     acquire   a    legal    status       independent   of    the   interest

   asserted by the named plaintiffs.”                  Id.   The Cruz Court noted that

   the Third Circuit had taken a more expansive view in holding that

   “‘[s]o long as a class representative has a live claim at the time

   he moves for class certification, neither a pending motion nor a

   certified class action need be dismissed if his individual claim

   subsequently becomes moot.’” Id. (quoting Holmes v. Pension Plan of

   Bethlehem Steel Corp., 213 F.3d 124, 135 (2d Cir. 2000)).                      However,

   because “no such motion was pending when the claims of the named

   plaintiffs in [the Cruz] case became moot,” the First Circuit stated

   that it had “no occasion to consider the correctness of the Third
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   Circuit’s singular rule.” Id.

         In the case now before the Court, the dismissal of the entire

   proposed class action on the ground of mootness does not arise, as

   both both parties agree that two of the named plaintiffs are still

   in DCYF custody and that their claims continue to be viable.                      With

   respect    to    three    of   the     named       plaintiffs,   their   claims   were

   withdrawn voluntarily upon their adoption.                  Therefore, the question

   of mootness raised by the defendants relates to only five of the

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        The plaintiffs filed a motion for class certification together
   with their complaint, to which the defendants responded with an
   objection. Because Judge Lagueux dismissed the case for lack of
   standing, there is nothing to indicate that the plaintiffs’ motion
   was considered. The case has now been remanded for further
   proceedings and this Court invites the parties to submit new briefs
   in support of their respective positions, taking into consideration
   the Supreme Court’s recent decision in Wal-Mart Stores, Inc. v
   Dukes, 131 S.Ct. 2541, 2011 WL 2437012 (2011).

                                                 16
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 17 of 57 PageID #: 2279



   named plaintiffs.     These five children, who have most recently been

   adopted while the instant action has been pending, are no longer in

   DCYF custody and are no longer subject to the State’s allegedly

   “dysfunctional child welfare system.”              The plaintiffs’ amended

   complaint seeks only injunctive relief for “all children who are or

   will be in the legal custody of the [DCYF] due to a report or

   suspicion of abuse or neglect,” a group which no longer includes the

   five named plaintiffs.

         The plaintiffs now urge this Court to follow other courts which

   have applied a more flexible approach to the mootness doctrine in

   the class action context.        Pltfs.’ Obj. 69-70.       No class has yet

   been certified and the plaintiffs conceded at oral argument that the

   amended complaint relates only to children who are the subject of

   abuse or neglect petitions.        Hearing Tr. 36:16-22 (May 6, 2011).

   In other words, with the exception of David T. and Danny B., none of

   the other plaintiffs are representative of the putative class of

   children who are the subject of abuse or neglect petitions.

         The plaintiffs also suggest that their claims are “inherently

   transitory”    because    “it   was   reasonable    to   expect,   given   the

   temporary nature of foster care, that these five named Plaintiffs

   might leave DCYF custody prior to a ruling on class certification.”

   Pltfs.’ Obj. 68.     It is undisputed, however, that two of the named

   plaintiffs, who have asserted identical claims and seek identical

   relief, are still in DCYF custody.         Moreover, the plaintiffs have


                                         17
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 18 of 57 PageID #: 2280



   repeatedly stated that they are prepared to seek leave to supplement

   the amended complaint by adding other plaintiffs to this action.

   See e.g. Pltfs.’ Obj. 4 n. 3.        Therefore, as the plaintiffs rightly

   point out, a determination that the claims of the adopted plaintiff

   children are moot is not dispositive. However, because no live

   controversy exists between the adopted children and the defendants,

   the Court finds that the claims of these particular plaintiffs have

   been rendered moot.         Therefore, the claims of Deanna H., Sam M.,

   Tony M., Michael B., and Caesar S. are dismissed from the case.

         B.    Abstention under the Younger Doctrine

         1.    The Parties’ Positions

         In   their   motion    to   dismiss   the   amended    complaint,   the

   defendants urge this Court to abstain from “rendering a decision

   that would invade the province of the Rhode Island [Family Court] or

   its past and future decisions.”            Defs.’ Mot. 30.     The defendants

   suggest that to grant the injunctive relief requested by plaintiffs

   would require this Court to (1) declare that prior decisions by the

   Family Court violated the plaintiffs’ constitutional rights; (2)

   enjoin the Family Court from performing its duties of protecting

   abused and/or neglected children; and (3) oversee the Family Court’s

   performance with respect to orders issued for the best interest of

   those children.      Defs.’ Mot. 32-33.           Generally, the defendants

   reject the plaintiffs’ contention that the Family Court in Rhode

   Island has extremely limited authority over abused and/or neglected


                                         18
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 19 of 57 PageID #: 2281



   children and that DCYF has the ultimate responsibility over such

   children.     Defs.’ Reply    20.    The defendants also point out that,

   unlike in other states, e.g. Massachusetts, the Family Court in

   Rhode Island has authority under the Uniform Declaratory Judgment

   Act to issue a declaratory ruling if sought by the plaintiffs or

   other children.     Id. at 27.   Moreover, the defendants maintain that

   the Child Advocate is required to bring “formal legal action before

   the Family Court on behalf of an abused and/or neglected child” and

   that the children’s guardians ad litem or CASA16 attorneys “can bring

   issues of placement, services, visitation, treatment and welfare

   before the Family Court at any time.”         Id. at 32, 34.

         The plaintiffs reject the contention that this case involves

   issues of comity.     Instead, they state that the children challenge

   only their treatment by the responsible executive agency and have

   made no allegations against state courts.         Pltfs.’ Obj. 21-22.     The

   plaintiffs further argue that (1) any concurrent actions in the

   Family Court regarding these plaintiffs are not the type of coercive

   enforcement    proceedings    that   would   implicate   Younger;   (2)   the

   requested relief does not interfere with the state proceedings; and

   (3) the Family Court proceedings do not satisfy the three Middlesex17

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         Court Appointed Special Advocate.
         17

        Middlesex Cnty. Ethics Comm. v. Garden State Bar Ass’n, 457
   U.S. 423, 102 S.Ct. 2515, 73 L.Ed.2d 116 (1982)(holding that
   Younger abstention is appropriate in pending state disciplinary
   proceedings against federal plaintiffs).

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 20 of 57 PageID #: 2282



   factors required for abstention.       Pltfs.’ Obj. 22.      The plaintiffs

   suggest that, by accepting federal funding under the AACWA, “Rhode

   Island has voluntarily agreed to federal oversight of its child

   welfare system.”      Id. at 23.     The plaintiffs also suggest that,

   although Younger has been extended beyond criminal proceedings,

   abstention is not appropriate for “‘judicial review of executive

   action, rather than an enforcement proceeding.’” Id. at 25 (quoting

   Rio Grande Cmty. Health Ctr., Inc. v. Rullan, 397 F.3d 56, 70 (1st

   Cir. 2005)).    Further, the plaintiffs maintain that this litigation

   seeks to address the alleged harm caused by structural or systemic

   shortcomings within the DCYF, not by action or inaction of the

   Family Court.     Pltfs.’ Obj. at 30-31.

         With respect to the Middlesex factors, the plaintiffs argue

   that (1) the Family Court proceedings are not “ongoing” within the

   meaning of Younger; (2) the plaintiff children’s claims do not

   involve predominately state interests which raise comity concerns;

   and (3) the periodic reviews conducted by the Family Court do not

   afford plaintiff children an adequate forum in which to litigate

   their federal claims.      Id. at 37-39.

         At oral argument, the plaintiffs clarified that they had not,

   and would not, request this Court to overrule, amend, modify, or

   otherwise change any ruling of the Family Court.18              Hearing Tr.


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        As the defendants correctly point out, the plaintiffs’ request
   for relief as set forth in the Amended Complaint, is very broadly

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 21 of 57 PageID #: 2283



   40:15-20.     Instead, the plaintiffs proposed that the Court issue an

   order that would provide for “caseload caps at a size that is within

   professional standards around the country for DCYF caseworkers,

   adequate training for DCYF caseworkers, . . . a requirement of an

   increase in the array and type of placements, . . . increasing

   foster homes, [including] very specialized foster homes, . . .

   increasing the rate of adoptions,. . . decreasing the number of

   placements per child . . . decreasing the length of time in foster

   care. ”      Hearing Tr. 41:11-43:20.

         2.      Abstention Principles

         As a general rule, federal courts have a “‘virtually unflagging

   obligation . . . to exercise the jurisdiction given them.’”

   Guillemard-Ginorio v. Contreras-Gomez, 585 F.3d 508, 517 (1st Cir.

   2009)(quoting Colorado River Water Conservation Dist. v. United

   States, 424 U.S. 800, 817, 96 S.Ct. 1236, 47 L.Ed.2d 483 (1976)).

   The   duty    to    exercise   jurisdiction   “rests   on   ‘the   undisputed

   constitutional principle that Congress, and not the Judiciary,

   defines       the    scope     of   federal   jurisdiction     within     the



   styled. In essence, the plaintiffs seek a declaration that the
   DCYF’s practices - as described in great detail throughout the
   Amended Complaint - violate the plaintiffs’ rights under the U.S.
   Constitution and the AACWA.      The plaintiffs also request this
   Court to enjoin the defendants from subjecting the children to such
   practices and to “ensure [the defendants’] future compliance with
   their legal obligations” to the plaintiffs.       In addition, the
   plaintiffs seek reasonable costs and expenses of this litigation,
   “including reasonable attorneys’ fees pursuant to [28 U.S.C. §
   1920] and 42 U.S.C. § 1988.” Amended Complaint ¶ 239.

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 22 of 57 PageID #: 2284



   constitutionally permissible bounds.’” Chico Serv. Station, Inc. v.

   Sol Puerto Rico, 633 F.3d 20, 29 (1st Cir. 2011)(quoting Quackenbush

   v. Allstate Ins. Co., 517 U.S. 706, 116 S.Ct. 1712, 135 L.Ed.2d 1

   (1996)); New Orleans Pub. Serv., Inc. (NOPSI) v. Council of City of

   New Orleans, 491 U.S. 350, 359, 109 S.Ct. 2506, 2513, 105 L.Ed.2d

   298 (1989)(reemphasizing that federal courts “‘cannot abdicate their

   authority     or     duty   in    any        case   in   favor   of   another

   jurisdiction.’”)(citation omitted).

         However, the Supreme Court has also advised that “federal

   courts may decline to exercise their jurisdiction, in otherwise

   ‘exceptional circumstances,’ where denying a federal forum would

   clearly serve an important countervailing interest, . . . for

   example, where abstention is warranted by considerations of ‘proper

   constitutional adjudication,’ ‘ regard for federal-state relations,’

   or ‘wise judicial administration.’”             Quackenbush v. Allstate Ins.

   Co., 517    U.S. 706, 716, 116 S.Ct. 1712, 1721, 135 L.Ed.2d 1

   (1996))(citation omitted).         Thus, abstention is permissible in

   “carefully defined” areas and “remains ‘the exception, not the

   rule.’”19   NOPSI,    491 U.S. at 359, 109 S.Ct. at 2513, 105 L.Ed.2d


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        A “narrowly construed,” limited exception to Younger, in
   “extraordinary” circumstances, Malachowski v. City of Keene, 787
   F.2d 704, 709 (1986), may warrant federal intervention in state
   proceedings “brought to harass or in bad faith or to enforce a
   flagrantly unconstitutional statute.” Esso Standard Oil Co. v.
   Cotto, 389 F.3d 212, 219 n. 6 (1st Cir. 2004). There is nothing to
   indicate that this narrow exception to Younger comes into play in
   this litigation.

                                           22
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 23 of 57 PageID #: 2285



   298.    Abstention doctrines “call upon federal courts to decline to

   exercise their properly held jurisdiction in circumstances where the

   interests of comity and federalism predominate.         Guillemard-Ginorio

   v. Contreras-Gomez, 585 F.3d at 517 (citing Quackenbush v. Allstate

   Ins. Co., 517 U.S. at 727-28, 116 S.Ct. 1712);           Fragoso v. Lopez,

   991 F.2d 878, 883 (1st Cir. 1993)(holding that abstention should be

   “the exception, not the rule.”).

          3.   Younger

          Originally, abstention under the Younger doctrine was limited

   to cases in which “a plaintiff who was defending criminal charges in

   state court sought to get the federal court to enjoin the ongoing

   state criminal proceedings.”      Rio Grande Cmty.     Health Ctr., Inc. v.

   Rullan, 397 F.3d 56, 68-69 (1st Cir. 2005)(citing Younger v. Harris,

   401 U.S. 37, 91 S.Ct. 746, 27 L.Ed.2d 669)(1971)).           Under Younger,

   “considerations of federalism and comity demand that a federal court

   should abstain from asserting jurisdiction, at least as to claims

   for injunctive or declaratory relief, over a matter that is the

   subject of pending state criminal proceedings.” Malachowski v. City

   of Keene, 787 F.2d at 708(holding that Younger principles applied to

   federal court action brought by parents under § 1983 for alleged

   violation of their constitutional rights in the course of juvenile

   delinquency proceedings against their daughter which resulted in the

   daughter’s release into foster care outside the parents’ custody).

          Subsequently, Younger was extended to “quasi-criminal (or at


                                         23
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 24 of 57 PageID #: 2286



   least ‘coercive’) state civil proceedings - brought by the state as

   enforcement actions against an individual.”                        Rio Grande Cmty.

   Health       Ctr.,    Inc.     v.   Rullan,     397    F.3d   at   69   (listing   cases

   involving,           inter     alia,     state         administrative     disciplinary

   proceedings; state child removal proceedings for alleged child

   abuse;       and   state     proceedings       to   recover   fraudulently       obtained

   welfare payments); Esso Standard Oil Co. v. Cotto, 389 F.3d at217-

   218 (noting that “Younger extension has been extended to “‘coercive’

   civil    cases        involving        the     state    and   to    comparable     state

   administrative proceedings that are quasi-judicial in character and

   implicate important state interests.’”)(citation omitted); Maymo-

   Melendez v. Alvarez-Ramirez, 364 F.3d 27, 31-32, n. 3 (1st Cir.

   2004)(listing cases).

          The First Circuit acknowledged that “[t]he Supreme Court has

   expanded the applicability of Younger to many categories of civil

   proceedings, including a state child custody action.” Malachowski v.

   City    of    Keene,     787    F.2d    704,    708    (1986)(holding     that   Younger

   principles applied to federal court action brought by parents under

   § 1983 for alleged violation of their constitutional rights in the

   course of juvenile delinquency proceedings against their daughter

   that resulted in the daughter’s release into foster care outside the

   parents’ custody)(citing Moore v. Sims, 442 U.S. 415, 99 S.Ct. 2371,

   60 L.Ed.2d 994 (1979)(Younger abstention warranted in application

   for temporary restraining order sought against child welfare agency


                                                  24
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 25 of 57 PageID #: 2287



   by parents deprived of custody upon allegations of child abuse.))

   The   First   Circuit       explained   that,      ”whether   the     [state    court]

   proceedings are characterized as quasi-criminal or as child custody

   proceedings . . . the propriety of federal interference with them

   must be judged by Younger standards.”              Malachowski v. City of Keene,

   787 F.2d at 708.      With respect to the constitutional claims raised

   by the plaintiffs in Malachowski, see supra, the court noted that

   “the injunctive aspects of the complaint while ‘clothed . . . in the

   garb of a civil rights action, . . . boil down to a demand for

   custody of the child.’” Id. at 709 (citation omitted.)

         In addition, Younger abstention was deemed appropriate in civil

   cases     involving    “situations         uniquely     in   furtherance       of   the

   fundamental workings of a state’s judicial system.” Rio Grande, 397

   F.3d at 69 (citing Middlesex Cnty. Ethics Comm. v. Garden State Bar

   Ass’n, 457 U.S. 423, 432-433, 102 S.Ct. 2515, 73 L.Ed.2d 116

   (1982)(federal      abstention       warranted     in   action   filed    to    enjoin

   pending state attorney disciplinary proceedings); Pennzoil Co. v.

   Texaco,     Inc.,     481     U.S.    1,     107    S.Ct.     1519,     95     L.Ed.2d

   1(1987)(challenge by losing party in state proceedings to post-

   judgment appeal bond implied Younger abstention); Juidice v. Vail,

   430 U.S. 327, 97 S.Ct. 1211, 51 L.Ed.2d 376 (1977)(Younger applies

   to injunctive relief sought for civil contempt imposed in state

   court proceeding)).         As noted by the First Circuit, although “[i]t

   is unclear exactly how far this [latter] rationale extends, . . . it


                                              25
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 26 of 57 PageID #: 2288



   is related to the coercion/enforcement rationale.”                   Rio Grande, 397

   F.3d at 69.       “[P]roceedings must be coercive, and in most cases,

   state-initiated, in order to warrant abstention.”                          Guillemard-

   Ginorio      v.     Contreras-Gomez,            585    F.3d    at    522        (listing

   cases)(explaining         that    “‘[f]or    purposes     of   Younger     abstention,

   administrative proceedings are “judicial in nature” when they are

   coercive     -    i.e.,    state      enforcement      proceedings.’”)       (citation

   omitted).

         With    respect      to     circumstances       involving     the    fundamental

   interests of the state’s judicial system, the First Circuit pointed

   out that, “[e]ven the Supreme Court’s furthest extension of the type

   of proceedings to which Younger applies . . . involved this sort of

   coercive contexts.”         Rio Grande, 397 F.3d at 69 n. 9.              By contrast,

   “judicial review of executive action, rather than an enforcement

   proceeding” does not implicate Younger abstention.                         Id. at 70

   (noting that, in NOPSI, the Supreme Court declared that application

   of Younger to “[s]tate judicial proceeding reviewing legislative or

   executive action . . . would make a mockery of the rule that only

   exceptional circumstances” justify abstention.)

         A   determination          of   whether    abstention    under      the    Younger

   doctrine is appropriate in a particular case involves application of

   the three factors established by the Supreme Court in Middlesex

   Cnty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 102

   S.Ct. 2515, 73 L.Ed.2d 116 (1982).                    Abstention under Younger is


                                               26
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 27 of 57 PageID #: 2289



   appropriate when (1) the requested relief would “interfere with . .

   . an ongoing state judicial proceedings;” (2) such proceedings

   “implicate important state interests;” and (3) there is “an adequate

   opportunity      in    the   state    proceedings     to    raise   constitutional

   challenges.”      Rossi      v.   Gemma,    489    F.3d     26,   34-35     (1st   Cir.

   2007)(citing Middlesex County, 457 U.S. at 432, 102 S.Ct. at 2521).

         i.   Interference with Ongoing Judicial Proceedings

         The threshold issue in the defendants’ Younger abstention

   argument    is   the     alleged     “interference”        with   ongoing    judicial

   proceedings in Family Court.            At the outset, it is not clear that

   the instant case is susceptible to such categorization.                     The cases

   on which the defendants rely, in their briefs and at oral argument,

   for the    proposition that child custody issues are appropriate

   actions    for        Younger     consideration      are     inapposite       to    the

   circumstances of this litigation.                 In McLeod v. State of Maine

   Dep’t. of Human Serv., 1999 WL 3317123 (D. Me. Nov. 2, 1999), the

   plaintiff sought a federal injunction against child protective

   services after the State initiated proceedings against her to

   terminate her parental rights.           In Malachowski v. City of Keene, see

   supra, the plaintiffs sought federal redress for alleged violations

   of their constitutional rights after their daughter was removed from

   their custody in connection with a juvenile delinquency petition

   instituted against her.              In Coggeshall v. Massachusetts Bd. of

   Registration of Psychologists, 604 F.3d 658 (1st Cir. 2010), a


                                              27
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 28 of 57 PageID #: 2290



   licensed psychologist (together with the father of one of her

   patients) brought a Section 1983 claim against the Massachusetts

   Board of Registration of Psychologists, which had previously placed

   the   psychologist     on   probation    for   violations     of   the   American

   Psychological Association’s code of conduct.            In McKenna v. Powell,

   2010 WL 2474037 (D.R.I. April 28, 2010), the plaintiff sought an

   injunction against the enforcement of certain provisions of the

   Rhode      Island   Workers’   Compensation      Act   in   connection       with   a

   workers’s     compensation     claim   brought    against    him   by    a   former

   employee.      At the time plaintiff McKenna brought suit in federal

   court, he had already filed appeals in the Workers Compensation

   Appellate Division and in state court.20

         The common denominator of these cases is that they relate to

   ongoing judicial coercive type proceedings initiated, primarily by

   the state, against the federal plaintiffs that have resulted in a

   forced deprivation of a right, e.g., of the custody of their

   child(ren), or a judgment or disciplinary measure issued against

   them, e.g. a probationary sentence for a code of conduct violation.



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        The defendants also cite to 31 Foster Children v. Bush, 329
   F.3d 1255 (11th Cir. 2003) and Carson P. v. Heineman, 240 F.R.D.
   456, 523 (D. Neb. 2007) which refers, inter alia, to 31 Foster
   Children in deciding the issue of interference with ongoing state
   proceedings. However, in 31 Foster Children, “the parties agreed”
   (as did the court) “that the continuing state dependency
   proceedings involving each of the plaintiffs are ongoing state
   proceedings for the purposes of Middlesex analysis.” 31 Foster
   Children, 329 F.3d at 1275.

                                           28
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 29 of 57 PageID #: 2291



   As    such,   they    are    distinguishable,        in   part,       from    the   instant

   litigation, in which the plaintiff children (or the Next Friends, on

   their behalf) neither seek to restore or obtain custody, nor do they

   challenge Family Court orders directing the termination of parental

   rights.       However, the plaintiffs do challenge the placement of the

   children      while   in     DCYF    custody     and/or     other      aspects      of     the

   plaintiffs’ care.           Specifically, the plaintiffs complain of the

   conditions and circumstances of the plaintiffs’ custody and care

   once Family Court orders are implemented or executed by the DCYF,

   and they seek specific measures to change those conditions, e.g. the

   length of stay in foster care, the number of placements per child,

   and the rate of adoptions.

          The defendants now assert that, with respect to the question of

   “interference,”        any       remedy    granted     to    the       plaintiffs        will

   necessarily interfere with the Family Court on issues of visitation

   and placement and will amount to oversight by this Court of Family

   Court decisions.       In particular, the defendants seek to distinguish

   the    circumstances        of    this    litigation      from    a    recent       case    in

   Massachusetts in which the federal district court rejected the

   defendants’ argument for abstention under Younger, in part, because

   “Massachusetts law greatly restricts the juvenile court’s discretion

   once a child is placed in DCF’s permanent custody.”                          Connor B. v .

   Patrick, – F.Supp.2d –, 2011 WL 31343 at *6 (D. Mass. Jan. 4, 2011).

   The defendants point out that, in contrast to Massachusetts, where


                                               29
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 30 of 57 PageID #: 2292



   DCF has “virtually free rein” regarding the placement and care of

   children in its custody, subject only to “a petition for review

   which cannot be filed more than once every six months,” id. at *7,

   the Family Court in Rhode Island “can address and enter orders of

   placement, services, visitation and adoption.” Defs.’ Reply at 37.

   In Rhode Island, at regularly scheduled Family Court review and/or

   permanency hearings regarding an abused or neglected child, DCYF is

   required to present a written reunification and/or permanency plan,

   which may be “approved and/or modified by a justice of the family

   court   and   incorporated   into    the    orders   of    the   court,    at    the

   discretion of the court.”           R.I. Gen. Laws § 40-11-12.2.                With

   respect to children in foster care, the Family Court must conduct a

   permanency hearing “whenever it deems necessary or desirable, but at

   least every twelve (12) months.”           R.I. Gen. Laws § 40-11-12.1(f).

         Pursuant to the Rhode Island Family Court Act, R.I. Gen. Laws

   §§   14-1-1   et   seq.,   the   Family     Court    has   exclusive      original

   jurisdiction in proceedings concerning abused and neglected children

   and adoption of children.        R.I. Gen. Laws § 14-1-5 (1), (2).              Once

   the Family Court grants DCYF’s petition for involuntary termination

   of parental rights, DCYF “shall have exclusive right to place [the]

   child for adoption and to be sole party to give or withhold consent,

   . . . and [DCYF] is the guardian of said child for all purposes.”

   Defs.’ Ex. E-48, see also Decree, Defs.’ Ex. E-49 (“[DCYF] is to be

   the exclusive agency to give or withhold consent for adoption of


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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 31 of 57 PageID #: 2293



   said child . . . DCYF is to be the sole guardian of said child for

   all   purposes.”).      However,   the     Family   Court   does   not   thereby

   surrender jurisdiction over the child.           In re Joseph, 420 A.2d 85,

   88 (R.I. 1980).      Instead, the discretion conferred on an agency as

   a guardian to the adoption of a child placed in its custody “is not

   absolute; it remains subject to judicial review by the Family

   Court,” id., “which may at any time for good cause revoke or modify”

   the decree.    R.I. Gen. Laws § 14-1-34 (a).         In the event the Family

   Court assigns custody of a child to DCYF, “the court shall authorize

   the provision of suitable treatment, rehabilitation and care for

   each child in the least restrictive and community-based setting.”

   R.I. Gen. Laws § 14-1-36.2.        The Family Court may also “make any

   further disposition that it may deem to be for the best interests of

   the child, except as otherwise provided in this chapter.”            R.I. Gen.

   Laws § 14-1-37.

         From the voluminous record submitted by the defendants, it is

   apparent that the Family Court retains considerable authority and

   involvement in the placement and care of children who are in the

   same circumstances as the plaintiffs. In support of their assertion

   that the Family Court issues orders impacting “placement, services,

   and visitation,” Defs.’ Reply at 41, the defendants have submitted

   numerous   exhibits    documenting,      inter   alia,   the   Family    Court’s

   approval of David’s residential placement in 2004 “by express terms

   or approving the case plan.”          Ex. E-36.       In November 2005, the


                                         31
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 32 of 57 PageID #: 2294



   Family Court then issued a “Permanency Hearing Decree” in which it

   approved the case plan and ordered DCYF to make a referral to the

   Case Management Team.      Ex. E-39.       Following a review in February

   2006, the Family Court noted that DCYF was awaiting approval from

   Massachusetts to place David at a residential facility there. Ex. E-

   41.   The process was repeated the following year.        In November 2006,

   the Family Court issued another decree stating, again, that DCYF had

   made “reasonable efforts to finalize the permanency plan goal of

   another planned alternative living arrangement.”            Ex. E-43.     The

   Family Court noted that David was still at the same residential

   facility which had no educational component, but that DCYF was

   seeking to place him at one of two other Massachusetts facilities.

   Ex. E-75.

          On August 21, 2000, David’s guardian ad litem sought a review

   by the Family Court while David (then age 6) was placed at Butler

   Hospital, a psychiatric facility for adults and children.                 The

   guardian ad litem informed the Family Court that Tanner Hill,

   David’s prior residential facility, had requested DCYF for some time

   to seek a more appropriate placement for David.           According to the

   guardian ad litem “[t]his request goes back several months and to

   date the Department has failed to secure such a placement.”           Ex. E-

   53.   The Family Court disposition forms reflect that, on August 29,

   2000, on September 12, 2000, on September 18, 2000, and again on

   October 10, 2000, the Family Court ordered a residential review.


                                         32
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 33 of 57 PageID #: 2295



   Ex. E-54-57.          An “Event Hearing Sheet” dated December 4, 2000 states

   that David is “showing signs of institutionalization - needs to be

   moved.      Placement       ordered   as    soon    as   possible.     Court     finds

   [illegible] of stable placement necessary.”                     Ex. E-58. However,

   based on the allegations in the amended complaint, it appears that

   David remained at the psychiatric facility for five months because

   DCYF could provide no other placement.                Amended Complaint ¶ 62.      In

   other words, although the Family Court continued to exercise its

   authority in conducting frequent reviews of David’s case, DCYF was

   unable to implement the            ordered placement which the Family Court

   deemed necessary and urgent.

         It is correct that, because the two remaining named plaintiffs

   are still in the custody of DYCF, they are subject to the continuing

   jurisdiction of the Family Court and the petitions for neglect and

   abuse remain pending.          The amended complaint does not seek to appeal

   any particular decision by the Family Court or to vacate or amend

   any particular orders or directives the Family Court has issued with

   respect     to    the     plaintiffs.      Instead,      the   plaintiffs’   amended

   complaint        is     directed   primarily       against     the   execution     and

   implementation of Family Court orders, as performed by the DCYF.21

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        It is correct, as the defendants point out, that the
   plaintiffs have styled their request for relief very broadly.
   However, to withstand a motion to dismiss, the complaint need only
   “allege ‘a plausible entitlement to relief.’” Thomas v. Rhode
   Island, 542 F.3d 944 , 948 (1st Cir. 2008)(quoting Bell Atlantic v.
   Twombly, 550 U.S. 544, 127 S.Ct. 1955, 1964-1965 (2007)).
   “Specific facts are not necessary; the statements need only ‘give

                                              33
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 34 of 57 PageID #: 2296



   At oral argument, the plaintiffs stated unequivocally that they do

   not and will not seek to reverse, amend, modify, or otherwise change

   any ruling of the Family Court.       However, the plaintiffs’s requested

   relief for, inter alia, a decreased number of placements, increased

   rate of adoptions, and decreased length of time in foster care,

   implicate determinations that have been made, and orders that have

   been issued, by the Family Court.

          Not all of the allegations raised in the amended complaint

   regarding, inter alia, the lack of safe and appropriate placement of

   children    who   have   been   abused     and/or   neglected     automatically

   implicate a possible constraint on decisions of the Family Court.

   Rather, the plaintiffs, who do not seek to overturn any particular

   determination by the Family Court concerning any of the children,

   seek to ensure that the Family Court’s orders and determinations can

   be carried out. The proposed remedies of caseload caps and adequate

   training for DCYF workers, as well as an increase in the array and

   types of available placements, are not within the province of the

   Family Court, although they would assist in implementing the Family

   Court’s    orders.       With   respect    to   those     measures,     “the   mere

   possibility of inconsistent results in the future is insufficient to

   justify    Younger   abstention.”         Rio   Grande,    397   F.3d    at    71.



   the defendants fair notice of what the . . . claim is and the
   ground upon which it rests.’” Thomas v. Rhode Island, 542 F.3d at
   948 (quoting Erickson v. Pardus, 551 U.S. 89, 127 S.Ct. 2197, 2200,
   167 L.Ed.2d 1081 (2007)).

                                         34
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 35 of 57 PageID #: 2297



   Therefore,    this   Court    is   of   the   opinion   that   the    requisite

   interference under Younger has not been established in this case

   with respect to the plaintiffs’ suggested remedy of establishing

   caseload caps for DCYF workers, providing adequate training to DCYF

   workers, and increasing the array of placement options.

         However, with respect to the requested increase in the rate of

   adoptions, the decrease in the number of placements per child, as

   well as the decrease in institutionalization and length of time in

   foster care, such proceedings and related determinations are subject

   to the continuing jurisdiction of the Family Court.                  Any remedy

   fashioned by this Court would constitute an interference with orders

   generally issued by the Family Court in consideration of the best

   interest of the child and would, therefore, implicate abstention

   under Younger.

         2.   Important State Interest

         Although the plaintiffs suggest that their claims “do not

   involve predominantly state interests which raise comity concerns,”

   Plfts.’ Mem. 37-38, it has long been established that the State has

   a compelling interest in ensuring proper care of children, including

   those in foster care.        See e.g., Santosky v. Kramer, 455 U.S. 745,

   766-767, 102 S.Ct. 1388, 1401-1402 (1982)(“State has an urgent

   interest in the welfare of the child . . . the State’s goal is to

   provide the child with a permanent home.”); Ginsberg v. State of New

   York, 390 U.S. 629, 88 S.Ct. 1274 (1968)(“State . . . has an


                                           35
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 36 of 57 PageID #: 2298



   independent interest in the well-being of its youth.”); Prince v.

   Commonwealth       of   Massachusetts,       321   U.S.   158,    64    S.Ct.    438

   (1944)(State acting to guard the interest in youth’s well being).

   Notwithstanding the nation’s interest in all children and the

   federal assistance programs implemented to support them, the fate

   and well-being of children in Rhode Island’s foster care system

   remains primarily a state interest.

         3. Adequate Opportunity for Constitutional Challenges

         The third factor of the Middlesex test to determine whether

   abstention    is    warranted   under    Younger     focuses     on    whether   the

   plaintiffs were afforded “an adequate opportunity in the state

   proceedings to raise constitutional challenges.”                 Middlesex Cnty.

   Ethics Comm. v. Garden State, 457 U.S. at 432, 102 S.Ct. at 2521

   (emphasis added).

         The defendants maintain that the plaintiffs have an adequate

   opportunity to advance their federal constitutional claims before

   the Family Court.       Defs.’ Reply at 60.        They also suggest that the

   plaintiffs must prove that they could not have obtained a Family

   Court ruling protecting them from the alleged harms they attribute

   to DCYF’s shortcomings “either because the ... [Family Court] had no

   jurisdiction to consider the federal questions raised in this case,

   had no authority to award a remedy, or because the plaintiffs lacked

   adequate    representation      in   that     forum.”     Id.         Finally,   the

   defendants point out that the Family Court is vested not only with


                                           36
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 37 of 57 PageID #: 2299



   broad powers over matters affecting children, but that it also has

   the authority to “declare rights, status, and other legal relations

   whether or not further relief is or could be claimed.”           Id. at 62.

         The Family Court is a statutory court of limited jurisdiction.

   Waldeck v. Piner, 488 A.2d 1218, 1220 (R.I. 1985).             As such, its

   powers “are limited to those expressly conferred upon it by statute;

   its jurisdiction cannot be extended by implication.”              Id.    “The

   Family Court lacks general equitable powers and cannot take action

   unless specific jurisdictional authority to act can be found in the

   Family Court Act.”     Id.

         Pursuant to the Uniform Declaratory Judgment Act (“UDJA”), R.I.

   Gen. Laws § 9-30-1,22 the Family Court (or the superior court), “upon

   petition, following such procedure as the court by general or

   special rules may prescribe, shall have the power to declare rights,

   status, and other legal relations whether or not further relief is

   or could be claimed.”      R.I. Gen. Laws § 9-30-1.      The purpose of the

   UDJA is “to settle and afford relief from uncertainty and insecurity



         22
           R.I. Gen. Laws § 9-30-1 provides:
        The superior or family court upon petition, following such
   procedure as the court by general or special rules may prescribe,
   shall have power to declare rights, status, and other legal
   relations whether or not further relief is or could be claimed. No
   action or proceeding shall be open to objection on the ground that
   a declaratory judgment or decree is prayed for. The declaration
   may be either affirmative or negative in form and effect; and such
   declarations shall have the force and effect of a final judgment or
   decree.



                                         37
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 38 of 57 PageID #: 2300



   with   respect      to   rights,     status   and    other   legal    relations.”

   Providence Teachers Union v. Napolitano, 690 A.2d 855, 856 (R.I.

   1997).    The existence of an actual justiciable controversy is a

   prerequisite to a determination by a court.               Id.   The Family Court’s

   decision to grant a remedy under the UDJA is purely discretionary.

   See R.I. Gen. Laws § 9-30-6 (“The court may refuse to render or

   enter a declaratory judgment or decree where the judgment or decree,

   if rendered or entered, would not terminate the uncertainty or

   controversy giving rise to the proceeding.”)

          There   is    nothing    to    indicate,      however,      that,    under   its

   statutorily      conveyed      jurisdiction,        the   Family    Court    has    the

   authority to address the shortcomings that the plaintiffs have

   specifically asserted against the DCYF, which, they allege, have led

   to violations of their constitutional rights, e.g., lack of licensed

   foster homes or other appropriate placements, shortage of case

   workers, unreasonable caseloads, and inadequate training.

          The difficulties in addressing the alleged inadequacies of the

   DCYF system in Family Court proceedings is exemplified in the case

   of David T.      David, now 17 years old, was taken into custody at age

   2 when he was removed from his mother due to neglect and abuse.

   With the exception of one initial placement in a foster home, David

   has since been placed in shelters, residential facilities and

   institutions, while his behavior, mental health, and emotional state

   were notably declining.            The voluminous record submitted to this


                                            38
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 39 of 57 PageID #: 2301



   Court reflects that David’s case plan, numerous placements, and

   visitation schedule were approved and reviewed by the Family Court

   on a regular basis.         However, oversight by the Family Court could

   not ensure that appropriate placement would be made available by

   DCYF.      For example, although the Family Court promptly conducted

   hearings and instructed DCYF repeatedly to find a more appropriate

   placement for David in 2000, DCYF was unable to do so for many

   months, during which time the six year old child was kept in a

   psychiatric institution. In other words, while the Family Court had

   the     jurisdiction   to    consider    David’s    plight   and   ordered   an

   appropriate remedy, DCYF fell short in implementing that remedy.

         In    sum,   while    the   plaintiffs   do   not   appear   statutorily

   precluded from bringing claims in Family Court that may amount to

   constitutional violations, it does not appear, under the alleged

   circumstances of this case,         that the Family Court would present an

   adequate forum to address those claims and to afford complete relief

   to the plaintiff children.23

         23

        The defendants suggest that “[t]he Family Court is also
   empowered to address issues implicating constitutional dimensions,”
   see Defs.’ Mem. at 63. However, the two cases on which they rely
   for support are not remotely comparable to the circumstances of
   this case. In re Destiny D., the Rhode Island Supreme Court held
   that, in a termination of parental rights proceeding, the Family
   Court was not precluded under the Fifth Amendment from considering
   the mother’s prior statements to police or from considering her
   refusal to testify.    In re Destiny D., 922 A.2d 168, 173-74 (R.I.
   2007).   In re Stephanie B., the Supreme Court held that Family
   Court orders enjoining a (non-party) private mental health hospital
   from discharging two juveniles and admitting one juvenile - all in
   temporary custody of DCFY - violated the hospital’s due process

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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 40 of 57 PageID #: 2302



         The Court concludes that, because the present case is not

   directed against any particular proceedings that may be pending in

   Family Court regarding the remaining plaintiffs and, although the

   welfare of children in foster care is an important state interest,

   in light of the difficulties in adequately raising the plaintiffs’

   claims in Family Court proceedings, abstention under Younger is not

   indicated with respect to the requested remedies of caseload caps

   for DCYF workers, adequate training of DCYF workers, and increase in

   the array of placement options.            However, since     increasing the

   number      of     adoptions,      and      decreasing      the   rate     of

   institutionalization, the number of placements per child, and the

   length of time in foster care depend on determinations and orders

   within     the jurisdiction of the Family Court, abstention under

   Younger is appropriate with respect to those requested remedies.

         C.    Abstention under the Rooker-Feldman Doctrine

         The defendants also submit that this suit is barred by the

   Rooker-Feldman doctrine.         Specifically, the defendants maintain

   that, although the plaintiffs are not asking this Court to review

   any Family Court proceedings, they seek a finding that they were,

   inter    alia,   placed   into   unstable   and   inappropriate   placements

   pursuant to reviews, permanency hearings, or orders by the Family

   Court.     Defs.’ Mot. Dismiss 43.       The defendants suggest that “[t]o

   the extent the Plaintiffs claim that they suffered a constitutional


   rights.     In re Stephanie B., 826 A.2d 985 (R.I. 2003).

                                         40
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 41 of 57 PageID #: 2303



   violation because of these inappropriate, judicially supervised

   placements,    it    is    not   unreasonable   to   characterize    Plaintiff

   Children in such circumstances as ‘losing parties’ for purposes of

   the Rooker-Feldman Doctrine.”         Id. at 45.

         In response, the plaintiffs point out that the plaintiff

   children “have never before been a party - let alone a losing party

   - to an action in the Family Court or any other related state court

   proceeding.” Pltfs.’ Obj. 42.         Moreover, the plaintiffs assert that

   they only seek review of defendants’ executive actions and “do not

   seek to overturn the Family Court orders,” to which the defendants

   refer in their motion.

         Under the Rooker-Feldman doctrine, a federal district court

   lacks subject matter “jurisdiction over ‘federal complaints . . .

   [that] essentially invite[] federal courts of first instance to

   review and reverse unfavorable state-court judgments.’”             Federacion

   de Maestros de Puerto Rico v. Junta de Relaciones del Trabajo de

   Puerto Rico, 410 F.3d 17, 20 (1st Cir. 2005)(quoting Exxon Mobil

   Corp. v. Saudi Basic Indust. Corp., 544 U.S. 280, 283, 125 S. Ct.

   1516, 1521, 161 L.Ed.2d 454 (2005)).            In Exxon Mobil, the United

   States Supreme Court limited application of the Rooker-Feldman

   doctrine to “cases brought by state-court losers complaining of

   injuries    caused    by    state-court     judgments   rendered    before   the

   district court proceedings commenced and inviting district court

   review and rejection of those judgments.”            Exxon Mobil, 544 U.S. at


                                          41
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 42 of 57 PageID #: 2304



   284, 125 S. Ct. 1521-22.

           In the case before the Court, the plaintiffs’ requested remedy

   is limited to injunctive and prospective relief to address what they

   allege to be systemic shortcomings of the Rhode Island child welfare

   system.   There is nothing to indicate that the plaintiffs in any way

   seek to reverse or modify existing judgments rendered by the Family

   Court   or   that   the   relief   sought   would   serve   to   reverse   such

   judgments.    Amended Complaint ¶ 239.

         To characterize the plaintiff children as “losing parties” in

   prior state proceeding would constitute an expansion of the Rooker

   Feldman doctrine that is neither indicated by case law precedent nor

   warranted under the circumstances of this case.              Therefore, this

   Court is of the opinion that the doctrine is inapplicable and does

   not serve as a basis for abstention.

         D. Individual Rights under the AACWA

         The Adoption Assistance Child Welfare Act of 1980, as amended

   by the Adoption and Safe Families Act of 1997,          42 U.S.C. §§ 621 et

   seq., §§ 670 et seq. constitute Parts B and E of Title IV of the

   Social Security Act.       The AACWA is a federal program that provides

   funding to a State for child welfare, foster care, and adoption

   assistance, provided the State has fashioned a State plan that meets

   certain requirements specified in the AACWA and that is approved by

   the Secretary of Health and Human Services.             Under the AACWA, a

   State “will be reimbursed for a percentage of foster care and


                                         42
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 43 of 57 PageID #: 2305



   adoption    assistance    payments     when    the   State   satisfies    the

   requirements of the Act.”        Suter v. Artist M., 503 U.S. 347, 112

   S.Ct. 1360, 1362, 118 L.Ed.2d 1 (1992).

         In their objection to the defendants’ motion to dismiss the

   complaint, the plaintiffs voluntarily limit their claims under the

   AACWA to the following: “(i) the           right to a case plan containing

   documentation, including child specific recruitment efforts, of

   steps taken to secure a permanent home for them, as provided in 42

   U.S.C. § 671(a)(16); and (ii) the right to adequate foster care

   maintenance payments as provided in 42 U.S.C. §§ 671(a)(1), (a)(11),

   672(a)(1), and 675(4)(A).”      Pltfs.’ Obj. 45 n. 45.       With respect to

   the latter, counsel for the plaintiffs stated at oral argument that

   maintenance payments to foster parents are made from a combination

   of state and federal monies, but that the State sets the rates for

   such payments.      The plaintiffs also expressed that they seek an

   order from this Court requiring the State to abide by the AACWA and

   to increase foster care maintenance rates.24

         In their motion to dismiss, the defendants generally assert

   that the provisions of the AACWA under which the plaintiffs bring


         24

        The Court notes that, in their amended complaint, the
   plaintiffs do not request or propose specific remedies for the
   alleged violation of the two AACWA provisions or for any of their
   other claims.     Instead, they seek to “[p]ermanently enjoin
   Defendants from subjecting Plaintiff Children to practices that
   violate their rights” and they ask this Court to order “appropriate
   remedial relief to ensure Defendants’ future compliance with their
   legal obligations to Plaintiff Children.” Amended Complaint ¶ 239.

                                         43
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 44 of 57 PageID #: 2306



   their claims do not create private enforceable rights but, instead,

   “speak to items to be included in a state plan and not rights of an

   individual.”        Defs.’    Reply     46.    Regarding     the    foster    care

   maintenance payment provision, 42 U.S.C. §§ 671(a)(1), 672(a)-(c),

   and 675(4)(A), the defendants argue that the provisions do not

   “manifest a Congressional intent to create privately enforceable

   rights” because they only set forth general information to be

   included in a State plan and do not “enunciate a specific formula

   for arriving at the payment.”           Defs.’ Mem. Mot. Dismiss 90.25

              With respect to the plaintiffs’ asserted rights to case plans

   containing specific documentation regarding recruitment plans and

   permanent      placements,   the    defendants    maintain      that    the   AACWA

   provisions do not “(1) contain ‘rights-creating’ language that is

   individually      focused    or   (2)   address   the   needs      of   individual
                                      26
   persons.”      Defs.’ Reply 46.

         Plaintiff’s cause of action is brought pursuant to 42 U.S.C. §

   1983.      Section 1983 “provides a remedy for deprivations of rights

         25

        The defendants acknowledge that a majority of courts that have
   addressed this issue have concluded that the AACWA creates a
   privately enforceable right to foster care maintenance payments.
   Defs.’ Mem. Mot. Dismiss 88 n. 21.
         26

        The defendants acknowledge that the First Circuit concluded in
   Lynch v. Dukakis, 719 F.2d 504 (1st Cir. 1983), that the case plan
   provision is enforceable under 42 U.S.C. § 1983, based on the
   rationale that the provision, otherwise, lacked a remedy available
   to the individual. Defs.’ Reply 47-48. The defendants suggest,
   however, that Lynch is of questionable precedential value, given
   controlling case law that has developed since. Id.

                                            44
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 45 of 57 PageID #: 2307



   secured by the Constitution and laws of the United States when that

   deprivation takes place ‘under color of any statute, ordinance,

   regulation, custom, or usage, of any State or Territory.’” Rockwell

   v. Cape Cod Hosp., 26, F.3d 254, 256 (1st Cir. 1994); 42 U.S.C. §

   1983; Lynch v. Dukakis, 719 F.2d 504, 509-510.

         However, “[n]ot all violations of federal law give rise to §

   1983 actions: ‘[t]he plaintiff must assert the violation of a

   federal right, not merely a violation of federal law.’”             Rio Grande

   Cmty.     Health Ctr., Inc. v. Rullan, 397 F.3d 56, 72-73 (1st Cir.

   2005)(quoting Blessing v. Freestone, 520 U.S. 329, 340, 117 S.Ct.

   1353, 137 L.Ed.2d 569 (1997)(emphasis in original)); Gonzaga Univ.

   v Doe, 536 U.S. 273, 274, 122 S.Ct. 2268, 2270 2275, 153 L.Ed.2d 309

   (2002)(“[I]t is rights, not the broader or vaguer ‘benefits’ or

   ‘interests,’ that may be enforced under the authority of [Section

   1983).”)). Such a federal       right “must be ‘unambiguously conferred’

   by the statutory provision at issue.”           Rio Grande Cmty.         Health

   Ctr., Inc. v. Rullan, 397 F.3d at 72-73 (quoting Gonzaga Univ. v.

   Doe, 536 U.S. at 283, 122 S.Ct. 2268, 153 L.Ed.2d 309).

         In Lynch v. Dukakis, the First Circuit concluded that the AACWA

   allows    private   enforcement     actions   for    a   case   plan    under   §

   671(a)(16) that is consistent with the provisions required by §

   675(1).    Lynch v. Dukakis, 719 F.2d 504 (1st Cir. 1983)(Section 1983

   action brought by children in the Massachusetts foster care system

   for     alleged   violations   of   the    AACWA).       The    First   Circuit


                                         45
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 46 of 57 PageID #: 2308



   acknowledged that “[t]here will be no section 1983 remedy when (1)

   the federal law confers no enforceable right, or (2) Congress has

   foreclosed the 1983 remedy through the act under consideration.”

   Lynch v. Dukakis, 719 F.2d at 510.             The First Circuit noted,

   however,    that   “[s]ince   at   least   1968   the   Supreme   Court   has

   implicitly and explicitly held that rights under various provisions

   of the Social Security Act are enforceable under section 1983,” id.

   at 510 (listing cases), and that the Supreme Court “has found

   remedies under the SSA to be exclusive only when the Act expresses

   such an intent.”      Id.     The First Circuit reasoned that, although

   section 671(b) of the AACWA authorizes the Secretary to withhold

   funds from noncomplying states, this “in no way purports to limit

   the availability of relief under any other provision.”            Lynch, 791

   F.2d at 510-511.     Based on the language and structure of the AACWA,

   the First Circuit concluded that nothing “suggests that Congress

   meant section 671(b) to be an exclusive remedy” and it upheld the

   district court’s determination that a private cause of action under

   the AACWA was available to the plaintiffs.         Id. at 514-515.

         In 1992, the      Supreme Court held that § 671(a)(15)27 of the

   AACWA did not create a private right of action enforceable under

   that section.      Suter v. Artist M., 503 U.S. at 359, 112 S.Ct. 1360


         27

        Section 672(a)(15) relates to “reasonable efforts” to preserve
   and reunify families of foster children, and details the
   circumstances in which such an effort would, or would not be,
   appropriate. 42 U.S.C. § 671 (a)(15).

                                         46
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 47 of 57 PageID #: 2309



   (class action for injunctive relief brought by Illinois foster

   children who alleged that the State failed to make reasonable

   efforts to preserve or reunify families).             In Suter, the Court

   concluded that Congress did not intend to create a private remedy

   and that the AACWA did not confer an implied cause of action.

   Suter, 503 U.S. at 364, 112 S.Ct. 1360; see Johnson ex. re. Estate

   of Cano v. Holmes, 377 F. Supp. 2d 1084, 1092-1093 (D.N.M., 2004).

   Specifically, the Supreme Court determined that the AACWA only

   required a State to have an approved State plan in order to be

   eligible    for   reimbursements;     the   provision    at    issue   lacked

   “statutory guidance as to how [the state’s] ‘reasonable efforts’

   were to be measured;” and the Secretary could enforce the act by

   withholding or reducing payments to a State.          Suter, 503 U.S. 359-

   362.    See also Carson P. ex rel. Foreman v. Heineman, 240 F.R.D.

   456, 537 (D.Neb., Jan. 19, 2007).

          In response to Suter, Congress enacted an amendment to the

   AACWA, generally referred to as the “Suter fix.”              Section 1320a-2

   provides as follows:

          In an action brought to enforce a provision of this
          chapter, such provision is not to be deemed unenforceable
          because of its inclusion in a section of this chapter
          requiring a State plan or specifying the required contents
          of a State plan. This section is not intended to limit or
          expand the grounds for determining the availability of
          private actions to enforce State plan requirements other
          than by overturning any such grounds applied in [Suter],
          but not applied in prior Supreme Court decisions
          respecting such enforceability; provided, however, that
          such section is not intended to alter the holding in
          [Suter] that section 671(a)(15) of this title is not

                                         47
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 48 of 57 PageID #: 2310



         enforceable in a private right of action.                   42 U.S.C.
         §1320d-2.

         Following Suter and this Congressional amendment to the AACWA,

   courts that addressed the issue have come to different conclusions

   regarding    the    availability    of        a   private    action    for    alleged

   violations of various AACWA provisions.              See e.g., Johnson ex. re.

   Estate of Cano v. Holmes, 377 F. Supp. 2d at 1093-1094 (listing

   cases). The majority of courts concluded that                § 1320a-2 overruled,

   at most, “that portion of the opinion identifying and allowing a

   court   to   rely   exclusively     on        the   ‘state    plan’    criteria    in

   determining the existence of a federal right.” Carson P. ex rel.

   Foreman v. Heineman, 240 F.R.D. at 538 (listing cases).                      In other

   words, a statutory provision was not rendered “unenforceable by an

   individual    merely    because    the        provision     contains    state     plan

   requirements.”      Id. (quoting Watson v. Weeks, 436 F.3d 1152, 1158

   (9th Cir. 2006)).

         In 1997, the Supreme Court fashioned a three-prong test in

   Blessing to aid in the determination whether a federal statutory

   provision creates a “right” enforceable under Section 1983:

         First, Congress must have intended that the provision in
         question benefit the plaintiff. . . Second, the plaintiff
         must demonstrate that the right assertedly protected by
         the statute is not so ‘vague and amorphous’ that its
         enforcement would strain judicial competence. Third, the
         statute must unambiguously impose a binding obligation on
         the States. Blessing v. Freestone, 520 U.S. at 340-341,
         117 S.Ct. at 1360, 137 L.Ed.2d 569 (“In other words, the
         provision giving rise to the asserted right must be
         couched in mandatory, rather than precatory, terms.”); see
         also Rio Grande, 397 F.3d at 73.

                                            48
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 49 of 57 PageID #: 2311




         Subsequently, the Supreme Court clarified and tightened the

   test in Gonzaga, 536 U.S. 273, 282, 122 S.Ct. 2268, 2275, 153

   L.Ed.2d 309 (2002) (stating that first prong of the Blessing test

   requires an “unambiguously conferred right.”).          Following Gonzaga,

   the relevant inquiry includes (1) “whether the provision contains

   ‘rights-creating language,’” (2) “whether the provision has an

   aggregate as opposed to an individualized focus;” and (3) “the other

   sorts of enforcement provisions that Congress has provided.”               Rio

   Grande, 397 F.3d at 73 (citing Gonzaga, 536 U.S. at 287-90, 122

   S.Ct. 2268).      As noted by the First Circuit: “This test is merely a

   guide, however, as the ultimate inquiry is one of congressional

   intent.”     Id.; Gonzaga Univ. v. Doe, 536 U.S. at 280, 122 S.Ct. at

   2273, 153 L.Ed.2d 309 (“[U]nless Congress ‘speak[s] with a clear

   voice,’ and manifests an ‘unambiguous’ intent to create individual

   enforceable rights, federal funding provisions provide no basis for

   private enforcement by § 1983.”).

         In the case now before the Court, after the plaintiffs have

   voluntarily withdrawn the majority of their claims under the AACWA,

   the plaintiffs’ asserted rights are limited to (1) a case plan

   containing    documentation,    including    child   specific     recruitment

   efforts, of steps taken to secure a permanent home for them,

   pursuant to 42 U.S.C. §§ 671(a)(16) and 675 (1)(E); and (2) adequate

   foster     care   maintenance   payments,    pursuant   to   42   U.S.C.   §§


                                         49
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 50 of 57 PageID #: 2312



   671(a)(1),    671(a)(11),    672(a)(11),     672(a)(1),   and    675(4)(A).

   Amended Complaint ¶ 231; Pltfs.’ Obj. 45 n. 36.

            Section 671 sets forth the “[r]equisite features of a State

   plan” for foster care and adoption assistance which a State must

   develop in order to be eligible for federal payments under the

   AACWA.     Subsection 671(a)(16) provides “for the development of a

   case plan (as defined in section 671(1) of this title) for each

   child receiving foster care maintenance payments under the State

   plan and . . . a case review system which meets the requirements

   described in section 675(5)(B) of this title with respect to each

   such child.”    Section 675 further defines “case plan” and includes

   the following provision in subsection 675 (1)(E):

         In the case of a child with respect to whom the permanency
         plan is adoption or placement in another permanent home,
         documentation of the steps the agency is taking to find an
         adoptive family or other permanent living arrangement for
         the child, to place the child with an adoptive family, a
         fit and willing relative, a legal guardian, or in another
         planned permanent living arrangement, and to finalize the
         adoption or legal guardianship. At a minimum, such
         documentation shall include child specific recruitment
         efforts such as the use of State, regional, and national
         adoption exchanges including electronic exchange systems
         to facilitate orderly and timely in-State and interstate
         placements. 42 U.S.C. § 675(1)(E).


         To retain eligibility for federal payments under the AACWA,

   each State with an approved State plan “shall make foster care

   maintenance payments on behalf of each child who has been removed

   from the home of a relative . . . into foster care.”             42 U.S.C. §

   672(a)(1).     Subsection   675(4)(A)      further   defines    “foster   care

                                         50
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 51 of 57 PageID #: 2313



   maintenance payments” as:

         payments to cover the cost of (and the cost of providing)
         food, clothing, shelter, daily supervision, school
         supplies, a child's personal incidentals, liability
         insurance with respect to a child, reasonable travel to
         the child's home for visitation, and reasonable travel for
         the child to remain in the school in which the child is
         enrolled at the time of placement. In the case of
         institutional care, such term shall include the reasonable
         costs of administration and operation of such institution
         as are necessarily required to provide the items described
         in the preceding sentence. 42 U.S.C. § 675(4)(A).


         As recognized by the District Court of Massachusetts in a

   recent challenge of the Massachusetts foster care system, “[f]ederal

   courts   are   divided   as   to     whether     the   AACWA    creates    privately

   enforceable rights to either a case plan or foster care maintenance

   payments.”     Connor B. v. Patrick, – F. Supp.2d –, 2011 WL 31343 * 20

   n. 13, n. 14     (D.Mass. Jan. 4, 2011)(Ponsor, J.)(listing cases, a

   majority of which recognize rights to both).                    The Massachusetts

   district    court   concluded      that    the    AACWA   provisions       at   issue

   satisfied all three Gonzaga factors and, therefore, create privately

   enforceable     rights   to   case    plans      and   foster   care    maintenance

   payments.       Connor   B.   v.     Patrick,      2011   WL    31343     at    *20-22

   (“[A]pplication of the Gonzaga factors makes it clear that Congress

   intended to create privately enforceable rights to individualized

   case plans and foster care maintenance payments under the AACWA.”).

         This Court agrees.      With respect to these two provisions of the

   AACWA, neither their mandatory character nor the intended benefit to

   each child in the foster care system are ambiguous.                An application

                                             51
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 52 of 57 PageID #: 2314



   of the Blessing factors (as refined by Gonzaga) to the AACWA

   sections at issue leads the Court to conclude that those specific

   provisions    do   confer    a   privately    enforceable    right   on   the

   plaintiffs.    First, the requirements for a case plan with respect to

   “each child” and for foster care maintenance payments on behalf of

   “each child” who has been removed from his or her family, indicate

   that the plaintiff children are the intended beneficiaries of these

   provisions. 42 U.S.C. §§ 671(a)(16), 675(a)(1). These requirements

   demonstrate a focus on the specific needs of each child rather than

   a systemwide or aggregate focus.             Moreover, the AACWA language

   regarding both provisions is explicitly mandatory, requiring that “a

   State . . . shall have a plan approved by the Secretary which -- (1)

   provides for foster care maintenance payments” and – (16) provides

   for the development of a case plan,”            42 U.S.C. §§ 751 (a) (1),

   (16), and that each State with an approved State plan “shall make

   foster care maintenance payments on behalf of each child.”                 42

   U.S.C. §§ 672(a)(1).

         Second, the AACWA contains very specific requirements for an

   individualized case plan for each eligible child “that includes at

   least the following [elements],” 42 U.S.C. § 675 (1) (listing

   required numerous and detailed elements of case plan), and for

   foster care maintenance payments that “cover the cost of (and the

   cost of providing) food, clothing, shelter, daily supervision,

   school supplies, a child’s personal incidentals, liability insurance


                                         52
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 53 of 57 PageID #: 2315



   with respect to the child, reasonable travel to the child’s home for

   visitation, and reasonable travel for the child to remain in the

   school in which the child is enrolled at the time of placement.”                      42

   U.S.C. § 675(4)(A).       As such, these provisions cannot be said to be

   so “‘vague and amorphous’ that [their] enforcement would strain

   judicial competence.”          Blessing, 520 U.S. at 340-341.

          In addition, while it is correct that, in order to receive

   federal funding, a State is primarily required to have an approved

   plan    which   provides,      inter    alia,    for    foster    care      maintenance

   payments, the plain language of § 672(a)(1) also requires that each

   State with an approved plan “shall make foster care maintenance

   payments on behalf of each child” who has been removed into foster

   care.    42 U.S.C. § 672(a)(1)(emphasis added).

          Third, regarding other types of enforcement provisions, it is

   undisputed that the AACWA does not contain private enforcement

   remedies for a State’s non-compliance with the provisions on which

   the plaintiffs rely in their action.                 See e.g.    31 Foster Children

   v. Bush, 329 F.3d 1255, 1272. Under the AACWA, the Secretary of

   Health and Human Services is tasked with overseeing the child

   welfare    programs      and    is   authorized        to    withhold       funding   for

   noncompliance     with    federal      mandates.        42   U.S.C.     §    1320a-2a.

   However, there is nothing in the AACWA to indicate that Congress

   intended to preclude private causes of action.                   In fact, although

   the    ruling   in   Suter     regarding       the    unavailability         of   private


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Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 54 of 57 PageID #: 2316



   enforcement of § 671(a)(15) was unaltered by the “Suter fix,” the

   amendment also expressed Congress’s intent not to preclude courts

   from determining whether other provisions of the AACWA allowed

   private enforcement actions.

          The First Circuit’s analysis and conclusion in Lynch, while it

   precedes Blessing and Gonzaga, is not inconsistent with either of

   those cases or their required examination of Congressional intent.

   In light of the AACWA’s mandatory requirements to provide benefits

   to each child in the same circumstances as the plaintiffs, and the

   unavailability    of    other    means    to    seek   relief    against   alleged

   violations of the specific AACWA provisions raised in this case,

   this Court is of the opinion that the plaintiffs are not precluded

   from    proceeding     with    their   Section       1983   claims   for   alleged

   violations of their rights under the AACWA.

          E. Breach of Contract Claims

          The plaintiffs allege in their amended complaint that the State

   Plan required for federal reimbursement under the AACWA is a “legal

   contract[] between the federal government and the State” and that

   the plaintiffs, “as the intended direct third-party beneficiaries to

   these State Plan contracts are (i) being denied their rights under

   law to the services and benefits that the State of Rhode Island is

   obligated to proved to them under such contracts, and (ii) being

   harmed thereby.”       Amended Complaint ¶ 237, 238.              The defendants

   initially    assert    that,    because       the   plaintiffs   have   failed   to


                                            54
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 55 of 57 PageID #: 2317



   demonstrate an enforceable right under the AACWA, their contract

   claim should be dismissed as well.         Defs.’ Mot. 103.     Additionally,

   the defendants argue that the plaintiffs have not established the

   existence of a contract.          Defs.’ Reply 50.           In response, the

   plaintiffs suggest that the allegations in their amended complaint

   are sufficient to establish a contract.            Pltfs. Obj. 65.

         In light of the Court’s earlier determination that the AACWA

   confers a private right of action on the plaintiffs with respect to

   two particular provisions therein, protracted discussion of the

   plaintiffs’ breach of contract claim is unnecessary.              As noted by

   another district court addressing a breach of State Plan claim, “the

   third party beneficiary issue is inextricably linked with the

   question of whether the AACWA creates a private right of action.”

   D.G. ex. rel. Stricklin v. Henry, 594 F. Supp. 2d 1273, 1281 (N.D.

   Okla. 2009).    Therefore, courts that have had occasion to consider

   this issue have generally dismissed or preserved a related breach of

   contract claim depending on their conclusion regarding the viability

   of a private action under the AACWA. See, e.g.,                 D.G. ex. rel.

   Stricklin v. Henry, 594 F. Supp. 2d at 1281 (concluding that third

   party beneficiary claim failed because no private right of action

   under AACWA); Charlie H. v. Whitman, 83 F. Supp.2d 476 (D.N.J.

   2000)(rejecting plaintiffs’ intended beneficiary claims under either

   theory); Kenny A. ex. rel. Winn v. Perdue, 218 F.R.D. 277, 279

   (N.D.Ga.    2003)(concluding     that      AACWA   creates    federal   rights


                                         55
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 56 of 57 PageID #: 2318



   enforceable    under    42    U.S.C.   §    1983   and     that    State    Plans   are

   contracts     enforceable      by   plaintiffs        as    intended       third-party

   beneficiaries.)

         The Court expresses some doubt as to the plaintiffs’ ability to

   establish that the State Plan at issue is a binding contract;

   however, because the plaintiffs’ claims for the State’s alleged non-

   compliance with the State Plan remains viable in their § 1983 claim

   pursuant to the AACWA, the Court is of the opinion that dismissal of

   the plaintiffs’ breach of contract claim would be premature at this

   juncture.

                                       Conclusion

         For    the   reasons    set   forth       above,     the    Court    DENIES   the

   defendants’ request to abstain from this case pursuant to the

   Younger     doctrine   with   respect      to   the   requested      relief    of   (1)

   caseload caps for DCYF workers; (2) adequate training of DCYF

   workers; and (3) increase in the array and type of placements,

   including foster homes.

         The Court GRANTS the defendants’ request to abstain from this

   case pursuant to the Younger doctrine with respect to the requested

   relief of (1) decreasing the rate of institutionalization; (2)

   increasing the rate of adoptions; (3) decreasing the number of

   placements per child; and (4) decreasing the length of time in

   foster care.

         The Court DENIES the defendants’ request to abstain from this


                                              56
Case 1:07-cv-00241-WES-PAS Document 101 Filed 07/20/11 Page 57 of 57 PageID #: 2319



   case pursuant to the Rooker-Feldman doctrine.

          The Court GRANTS the defendants’ motion to dismiss the amended

   complaint as it relates to named plaintiffs Deanna H., Sam M., Tony

   M., Caesar S., and Michael B., on the ground that the claims became

   moot upon each child’s adoption.

          The   Court   DENIES   the   defendants’   motion   to   dismiss   the

   remaining plaintiffs’ claims with respect to (i) the             right to a

   case    plan   containing     documentation,   including    child   specific

   recruitment efforts, of steps taken to secure a permanent home for

   them, as provided in 42 U.S.C. § 671(a)(16); and (ii) the right to

   adequate foster care maintenance payments as provided in 42 U.S.C.

   §§ 671(a)(1), (a)(11), 672(a)(1), and 675(4)(A).           All other claims

   raised under the AACWA are herewith DISMISSED.

          The   Court   DENIES   the   defendants’   motion   to   dismiss   the

   remaining plaintiffs’ claims for breach of contract.



   SO ORDERED.



   /s/ Mary M. Lisi

   Mary M. Lisi

   Chief United States District Judge



   July 20, 2011




                                         57
